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Form DEFREJ (10/09)
                                              United States Bankruptcy Court
                                               Western District of Michigan
                                                   One Division Ave., N.
                                                         Room 200
                                                  Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                              Case Number 19−05319−jtg
          Christine Skandis
          312 Hoffman Street                                                  Chapter 7
          Saugatuck, MI 49453
          SSN: xxx−xx−6899                                                    Honorable John T. Gregg
                                                          Debtor


                               CORRECTED NOTICE OF DEFECTIVE FILING

The Bankruptcy Court has recently received documents for filing which the Clerk has determined to be defective. The documents
are identified below. The document(s) are being rejected without filing (or if electronically filed no action will be taken) pursuant to
the authority given to the Clerk of this Court by Local Rule #5005−2(b):


             The fee required pursuant to 28 U.S.C. § 1930 in the amount of $ was not received or was deficient for the following
             reason:
                           payment was received in the wrong amount.
                           a personal check was sent to us which we cannot accept.
                           the check was not signed.
                           other:
             The documents which were to be filed are for a case which is now closed. (Case closed on ) You may wish to file a
             Motion to Reopen this case in order to file your pleading. The Motion must be accompanied by a $ filing fee or a
             Request for a Waiver of this fee.

             The documents which were intended to be filed are for a case which does not exist in this Court.
             The document(s) intended for filing with this court were received via facsimile without obtaining prior judicial
             approval. See LBR 5005−1

             Other Court Order Requiring the Clerk to Reject Electronic Filing of Documents

         Documents rejected are: Statement of Financial Affairs and Supporting Documents and Notice of Lawsuit Against
         Matthew S. Deperno (P52622) and Deperno Law Ninth, Objection to Claim as to Matthew S. Deperno and Deperno
         Law, Motion to Vacate and Discharge Claim filed by Matthew S. Deperno and Deperno Law, Motion Prohibiting
         Matthew S. Deperno and Deperno Law From Filing Any More Filings in This Case, Objection and Motion to Strike
         Matthew S. Deperno and Deperno Pleading

Dated: November 4, 2020                                             /S/
                                                                    Michelle M. Wilson
                                                                    Clerk of Court


Notice of defective filing was served on: Christine Skandis by U.S. Mail
